          Case 8:23-cv-01333-FWS-JDE                            Document 63-6 Filed 03/27/25 Page 1 of 1 Page ID
Grrail • USMLE Accomrrodation                                         #:1026
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        Jackline Muthoka <jackiemuthoka87@gmail.com>                                                                       Mon, Apr 30, 2018al 12:03 PM
        To: r.henderson@uci.edu

          Hi Rosezelta,
          I hope you are well and had a great weekend. Have you heard anything from NBME? Should I call them to follow up or what's yoix advice?
          Also, I just wanted to let you know that I changed my test dale to Monday May 7th ;.ist so I can review one last lime. Please let me know if
          there is anything I need to do.
          Have a great week!
          Thanks,
          Jackie

          Best,
          Jaci<Jine Muthoka MS2
          UC Irvine School of Medicine
          jmuthoka@uci. ecru
          7145966400!7143980106

          Begin forwarded message:

          (QUOIOCI ""'t hidden}



        Rosezetta Henderson <r.henderson@uci.edu>                                                                           Mon, May 7, 2018 at 11:12 AM
        To: Jackline Muthoka <jacklemu1hoka87@gmail.com>


          Hi Jackie,



          I was out of the office last week. I was informed that you called me th is morn in 11. I left you a voice mall a few minutes ago.

          I am glad to hear that you were able to push It back for another week to 111ve you extra tim e to prepare. I believe you may be taking
          your e~am now. I wish you the best. ~      BME decision Is that your request did npt q_1,1al!t,:.is a disabllity

                                                                                      't
          Feel free to call or email me.



          Rosezetta

          [Ovoted 11,,<t hidden]



        Rosezetta Henderson <r.henderson@uci.edu>                                                                               Fri, Jlt\1, 2018 al 4·54 PM
         To: Jackline Muthoka <Jacklemu1hoka87@gman.com>


          Hi Jackie,



         ~ ~QLJljn& Ail 9roy1dtn& a defintt~ answer Wanted to ke~p you updated.



          Rosezetta




          From: Rosezetta Henderson
          Sent: Monday, May 07, 201811:12 AM
          To: 'Jackline Muthoka' <jackiemuthoka87@gmail.com>
          Subject: RE: USMLE Acccmmodation



           Hi Jackie,




2 of3                                                                                                                                         PL-01847
                                                                                                                                                 10/3/2019 9:03 PM
